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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA                   :
                                            :
              v.                            :
                                                  CIVIL ACTION
                                            :
 NAYEEM GORDON                              :
                                            :
                                                  No. 15-cr-00496-1-WB
                                            :
                                            :
                                            :


                                    ORDER

      AND NOW this 28th day of January, 2021, upon consideration of defendant

Nayeem Gordon’s letter to the Court filed on January 13, 2021 (Doc. No. 1058) advising

that he would be quarantined for some period of time due to a move to a new prison, it

is ORDERED that defendant Gordon shall have until Monday, February 22, 2021 to file

a reply to the Government’s response to Gordon’s motion to vacate his sentence

pursuant to § 2255.

      SO ORDERED.




                                                BY THE COURT:


                                                /s Richard A. Lloret______
                                                HON. RICHARD A. LLORET
                                                United States Magistrate Judge
